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 1 BROWNE GEORGE ROSS LLP
   Keith J. Wesley (State Bar No. 229276)
 2  kwesley@bgrfirm.com
   2121 Avenue of the Stars, Suite 2800
 3 Los Angeles, California 90067
   Telephone: (310) 274-7100
 4 Facsimile: (310) 275-5697
 5
   Attorneys for Plaintiff
 6 ATARI INTERACTIVE, INC.
 7                         UNITED STATES DISTRICT COURT
 8                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 9
10 ATARI INTERACTIVE, INC.,                  Case No.
11                     Plaintiff,            COMPLAINT FOR:
12                                           (1) TRADEMARK
                 vs.                             INFRINGEMENT AND
13                                               COUNTERFEITING [15 U.S.C.
     RAGEON, INC.,                               §1114];
14
                                             (2) COPYRIGHT
15                     Defendant.                INFRINGEMENT [17 U.S.C.
                                                 §§101 et seq.];
16                                           (3) TRADEMARK DILUTION [15
17                                               U.S.C. §1125(c)];
                                             (4) FALSE DESIGNATION OF
18                                               ORIGIN [15 U.S.C. §1125(a)];
                                             (5) COMMON LAW UNFAIR
19                                               COMPETITION;
                                             (6) CONTRIBUTORY
20                                               TRADEMARK
21                                               INFRINGEMENT;
                                             (7) CONTRIBUTORY
22                                               COPYRIGHT
                                                 INFRINGEMENT;
23                                           (8) VICARIOUS TRADEMARK
24                                               INFRINGEMENT;
                                             (9) VICARIOUS COPYRIGHT
25                                               INFRINGEMENT;
26                                           DEMAND FOR JURY TRIAL
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 1               Plaintiff Atari Interactive, Inc., as and for its complaint against defendant
 2 RageOn, Inc., alleges as follows:
 3                                               PARTIES
 4               1.    Plaintiff Atari Interactive, Inc. (hereinafter “Atari” or “Plaintiff”) is a
 5 Delaware corporation with its principal place of business in New York, New York.
 6               2.    Plaintiff is informed and believes, and thereon alleges, that defendant
 7 RageOn, Inc. (hereinafter “RageOn” or “Defendant”) is a Delaware corporation with
 8 its principal place of business in Cleveland, Ohio.
 9                                   JURISDICTION AND VENUE
10               3.    This Court has subject matter jurisdiction over this action pursuant to
11 28 U.S.C. sections 1331 and 1338 because the action arises under the federal
12 Copyright Act and Lanham Act. See 17 U.S.C. §§ 101, et seq.; 15 U.S.C. §§ 1051,
13 et seq. This Court also has supplemental jurisdiction pursuant to 28 U.S.C. sections
14 1367 and 1338(b).
15               4.    Venue in this district is proper under 28 U.S.C. section 1391 because
16 RageOn is subject to personal jurisdiction here and Atari has suffered injury here.
17               5.    This Court has personal jurisdiction over RageOn because, upon
18 information and belief, RageOn maintains corporate offices in California, including
19 specifically within this judicial district. This Court also has personal jurisdiction
20 over RageOn because RageOn regularly markets and sells goods, including the
21 goods at issue in this case, to customers in California.
22                                    GENERAL ALLEGATIONS
23               A.    Atari Is an Iconic Video Game Brand.
24               6.    Atari is one of the most famous video game brands in history. Founded
25 in the early 1970s in California, Atari became the pioneer in the video game
26 industry during the 1970s and continuing into the 1980s, developing and releasing
27 (a) home video consoles – e.g., the Atari 2600 – that set new standards in design and
28 function, and (b) a series of hit games – e.g., Pong, Breakout, Asteroids, and many
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 1 others.
 2               7.    Atari became known to relevant consumers and the public at large by
 3 its inherently distinctive trade name, as well as its inherently distinctive A-shaped or
 4 “Fuji” logo design. The Atari name and logo are depicted immediately below.
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13               8.    Atari has continued to market, promote, license, and sell products,
14 including a catalog of more than 200 well-known games, worldwide under the Atari
15 name and logo for over four decades.
16               9.    Video gamers new and old recognize and revere Atari’s place as a very
17 well-known and iconic pioneer of the video game industry.
18               10.   Atari has expanded into a multi-platform, global interactive
19 entertainment company, adapting many of its classic games for online platforms
20 such as Facebook, smartphones, and tablets.
21               11.   Atari has developed, promoted, and distributed new interactive
22 entertainment and products, including a new VCS console (modeled off the design
23 of the original 2600 unit) that is currently being promoted and pre-sold on Indiegogo
24 and that has already raised more than $3 million.
25               12.   Atari has an active licensing business through which Atari has extended
26 its brand into other media, merchandising, and publishing categories.
27               13.   The Atari name, logo, and classic video games are valuable intellectual
28 property owned by Atari. Atari therefore obtained registrations with the United
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                                               COMPLAINT
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 1 States Patent and Trademark Office for many of its trademarks and registrations
 2 with the United States Copyright Office for many of its copyrights. For example:
 3                     a.    Through commercial use and contractual agreements with its
 4                           predecessors-in-interest, Atari is the owner of USPTO
 5                           Trademark Registration No. 4,214,210 for the ATARI name and
 6                           logo used in connection with, among other things, “printed
 7                           matter, namely posters, stickers” and “articles of clothing”; and
 8                           Atari is the owner of USPTO Trademark Registration No.
 9                           4,324,638 for the PONG name used in connection with, among
10                           other things “printed matter, namely posters, stickers” and
11                           “articles of clothing.” Appended hereto as Exhibits 1 and 2 are
12                           true and correct copies of the aforementioned trademark
13                           registrations.
14                     b.    Through contractual agreements with its predecessors-in-interest,
15                           Atari is the owner of multiple copyright registrations for, among
16                           others, the following video games, including the visual elements
17                           thereof: Combat, Centipede, Warlords, Pong, and Asteroids.
18               14.   Moreover, through extensive and continuous promotion and sales,
19 unsolicited press, and word of mouth, Atari owns common law rights in various
20 trademarks and trade dress, including the Atari name and logo, the Combat,
21 Centipede, Warlords, Pong, and Asteroids names and graphics, and the overall look
22 and feel of the Atari 2600 game console and joystick.
23               B.    RageOn Knowingly Infringes Upon Atari’s Intellectual Property
24                     Rights by Creating, Manufacturing, and Distributing Large
25                     Quantities of Counterfeit Atari Clothing and Printed Material.
26               15.   Formed in or around 2015, RageOn’s stated goal is to provide a service
27 through which “artists from around the globe can create and sell any design that
28 comes to mind with no investment other than time.” What RageOn does not
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 1 mention is that this model results in it actively facilitating the sale of substantial
 2 quantities of counterfeit goods.
 3               16.   Through RageOn’s website, www.rageon.com, visitors can upload
 4 designs that RageOn then displays on a variety of apparel – from t-shirts, pants, and
 5 sweatshirts to shower curtains – pictured on the site. RageOn offers for sale the
 6 products on display. If a visitor to the site orders a product, RageOn “hand
 7 make[s]” and “print[s] that item/s just for [the visitor].” Upon information and
 8 belief RageOn then ships and processes the payment for the product. RageOn
 9 represents its standard production time is up to 10 business days plus shipping
10 time.” RageOn then splits the proceeds of the sale – retaining approximately a 25%
11 commission – with the person who originally uploaded the design.
12               17.   RageOn is advertising, marketing, creating, displaying, offering for
13 sale, selling, distributing, and profiting from large quantities of counterfeit Atari
14 products. Many of the counterfeit products incorporate exact replicas of the
15 registered ATARI trademark (name and logo) on products in the classes for which
16 the marks are registered. Other counterfeit products incorporate easily identifiable
17 depictions of the Atari 2600 console and joystick with the distinctive red button. A
18 few examples are depicted below. Others are shown in Exhibit 3.
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 9               18.   In addition, RageOn is advertising, marketing, creating, displaying,
10 offering for sale, selling, distributing, and profiting from products incorporating
11 copyrights owned by Atari. A few examples are depicted below. Others are shown
12 in Exhibit 3.
13                CENTIPEDE                     COMBAT                    ASTEROIDS
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21               19.   RageOn’s aforementioned infringement is knowing and willful, as
22 evidenced by (a) the sheer quantity of different counterfeit designs being sold by
23 RageOn, (b) the exact duplication of a variety of iconic Atari designs, and (c)
24 RageOn’s pattern and practice of infringing upon the intellectual property rights of
25 well-known brands.
26               20.   Moreover, in many cases, the products for sale on RageOn’s site use
27 Atari’s famous marks in manners that are vulgar or salacious and likely to tarnish
28 their goodwill among consumers. Examples from this category are pictured below.
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 1                           WARLORDS                            PONG
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 9               C.    RageOn’s Infringement Extends Beyond Use of Atari’s Intellectual
10                     Property on the Actual Products Sold on the Site.
11               21.   As described above, RageOn infringed upon Atari’s intellectual
12 property rights by promoting and selling products incorporating exact copies of
13 Atari’s trademarks and copyrights. RageOn’s infringement, however, goes beyond
14 the products themselves.
15               22.   RageOn used the word mark “Atari” in various ways to advertise and
16 promote the RageOn website and services, including by displaying the word “Atari”
17 repeatedly not just on products, but on the site itself. In addition, upon information
18 and belief, RageOn used the word mark “Atari” as a keyword that drove users to the
19 RageOn site. Making use of the “Atari” mark in this way did more than just
20 advertise and promote specific products; rather, RageOn’s uses of the Atari mark
21 above and beyond on the products themselves advertised and promoted RageOn and
22 its services, as well as created a false perception of an association or endorsement by
23 Atari of RageOn.
24               23.   RageOn has profited from its unauthorized use of Atari’s intellectual
25 property through the sale of the infringing goods and advertising and promotional
26 uses of the Atari mark, and RageOn’s infringement has harmed Atari by cheapening
27 and diluting the Atari brand, diverting profits from the sale of authentic Atari goods,
28 and causing Atari to lose profits and licensing fees from the authorized use of its
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                                               COMPLAINT
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 1 intellectual property.
 2                                  FIRST CLAIM FOR RELIEF
 3                         (Trademark Infringement and Counterfeiting)
 4               24.   Atari re-alleges and incorporates herein by reference each and every
 5 allegation set forth above.
 6               25.   Atari is the owner of the registered ATARI and PONG trademarks for
 7 the categories of goods on which RageOn is using the trademarks, as well as
 8 registered trademarks for the COMBAT, CENTIPEDE, WARLORDS, and
 9 ASTEROIDS names (collectively, the “Atari Trademarks”).
10               26.   The Atari Trademarks are valid, protectable marks.
11               27.   RageOn is advertising, marketing, creating, displaying, offering for
12 sale, selling, distributing, and profiting from products incorporating the Atari
13 Trademarks or nearly identical variations thereof. In addition, beyond using the
14 Atari Trademarks on products themselves, RageOn has used the trademarks on the
15 RageOn site for promotional purposes and to drive consumers to the site.
16               28.   RageOn’s use of the Atari Trademarks is likely to cause confusion
17 among ordinary purchasers as to the source of the goods.
18               29.   Atari has never consented to RageOn’s use of its trademarks.
19               30.   RageOn infringed upon the Atari Trademarks and engaged in
20 trademark counterfeiting willfully.
21               31.   As a proximate result of the unfair advantage accruing to RageOn from
22 using confusingly similar marks and deceptively trading on Atari’s goodwill,
23 RageOn has made substantial sales and profits in amounts to be established
24 according to proof.
25               32.   As a proximate result of the unfair advantage accruing to RageOn from
26 using similar or quasi-similar marks and deceptively trading on Atari’s goodwill,
27 Atari has been damaged and deprived of substantial sales and has been deprived of
28 the value of its trademarks as commercial assets, in amounts to be established
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                                               COMPLAINT
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 1 according to proof.
 2               33.   Unless restrained by the Court, RageOn will continue to infringe
 3 Atari’s trademarks. Pecuniary compensation will not afford Atari adequate relief for
 4 the damage to its trademarks and brand. In the absence of injunctive relief,
 5 consumers are likely to continue to be mistaken or deceived as to the true source,
 6 origin, sponsorship, and affiliation of RageOn and their purported goods.
 7               34.   RageOn’s acts were committed, and continue to be committed, with
 8 actual notice of Atari’s exclusive rights and with the intent to cause confusion, to
 9 cause mistake, and/or to deceive, and to cause injury to the reputation and goodwill
10 associated with Plaintiff and its products. Pursuant to 15 U.S.C. section 1117, Atari
11 is, therefore, entitled to recover three times its actual damages or three times
12 RageOn’s profits, whichever is greater, together with its attorneys’ fees. Atari is
13 also entitled to statutory damages of $2 million per registered mark. In addition,
14 pursuant to 15 U.S.C. section 1118, Atari is entitled to an order requiring destruction
15 of all infringing products and promotional materials in RageOn’s possession.
16                                SECOND CLAIM FOR RELIEF
17                                     (Copyright Infringement)
18               35.   Atari re-alleges and incorporates herein by reference each and every
19 allegation set forth above.
20               36.   Atari has complied in all respects with the copyright laws of the United
21 States, 17 U.S.C. §101 et seq., and has secured the exclusive rights and privileges in
22 and to the original expression in the following copyrights that have been duly
23 registered with the U.S. Copyright Office: Combat, Centipede, Warlords, Pong, and
24 Asteroids.
25               37.   RageOn had access to Atari’s copyrighted works as established by,
26 among other things, (a) the widespread availability of pictures of Atari-made or
27 Atari-licensed products incorporating those copyrights, (b) the fact that Atari’s
28 copyrighted games are well known in the industry and in the public, (c) the striking
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 1 similarity between the expression used on the infringing goods and the expression in
 2 Atari’s copyrights, and (d) the fact that RageOn affirmatively advertises the
 3 infringing goods through the use of the Atari trade name.
 4               38.   RageOn infringed Atari’s copyrights by advertising, marketing,
 5 creating, displaying, offering for sale, selling, distributing, and profiting from
 6 products incorporating protectable expression taken from Atari’s copyrights,
 7 without Atari’s permission.
 8               39.   RageOn infringed Atari’s copyrights willfully.
 9               40.   Atari is entitled to actual damages and RageOn’s profits, in an amount
10 to be proven at trial.
11               41.   Alternatively, Atari is entitled to statutory damages in an amount no
12 less than $150,000.00 per copyright.
13               42.   RageOn’s acts have caused and will continue to cause irreparable harm
14 to Atari unless restrained by this Court. Atari has no adequate remedy at law.
15 Accordingly, Atari is entitled to an order enjoining and restraining RageOn and all
16 those acting in concert with RageOn, during the pendency of this action and
17 permanently thereafter, from manufacturing, distributing, importing, exporting,
18 marketing, offering for sale, or selling copies or substantially similar copies of
19 Atari’s copyrights.
20                                  THIRD CLAIM FOR RELIEF
21                                       (Trademark Dilution)
22               43.   Atari re-alleges and incorporates herein by reference each and every
23 allegation set forth above.
24               44.   The ATARI and PONG trademarks are widely recognized by the
25 general consuming public of the United States.
26               45.   RageOn’s unauthorized use of the ATARI and PONG trademarks has
27 the effect of tarnishing and blurring Atari’s authentic trademark.
28               46.   Atari is entitled to recover damages and/or RageOn’s profits in an
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 1 amount to be determined at trial.
 2               47.   Atari is entitled to an order preliminarily and permanently enjoining
 3 RageOn from using its trademarks in the future.
 4               48.   Because RageOn has willfully intended to cause dilution of Atari’s
 5 trademarks, Atari is further entitled to recover its costs of suit and reasonable
 6 attorney’s fees, pursuant to 15 U.S.C. sections 1117 and 1125(c)(2).
 7                                FOURTH CLAIM FOR RELIEF
 8                                   (False Designation of Origin)
 9               49.   Atari re-alleges and incorporate herein by reference each and every
10 allegation set forth above.
11               50.   The Atari Trademarks, as well as the overall look and feel of Atari’s
12 2600 console and joystick (the “2600 trade dress”), are inherently distinctive and
13 have also acquired secondary meaning through extensive promotion and sales, over
14 unsolicited press, and word of mouth for over four decades.
15               51.   RageOn is advertising, marketing, creating, displaying, offering for
16 sale, selling, distributing, and profiting from products incorporating the Atari
17 Trademarks and the 2600 trade dress or nearly identical variations thereof.
18               52.   RageOn’s use of the Atari Trademarks and the 2600 trade dress is
19 likely to cause confusion among ordinary purchasers as to the source of the goods.
20               53.   Atari has never consented to RageOn’s use of its trademarks or trade
21 dress.
22               54.   RageOn infringed upon Atari’s trademarks and trade dress willfully.
23               55.   As a proximate result of the unfair advantage accruing to RageOn from
24 using similar or quasi-similar marks and trade dress and deceptively trading on
25 Atari’s goodwill, RageOn has made substantial sales and profits in amounts to be
26 established according to proof.
27               56.   As a proximate result of the unfair advantage accruing to RageOn from
28 using confusingly similar marks and trade dress and deceptively trading on Atari’s
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 1 goodwill, Atari has been damaged and deprived of substantial sales and has been
 2 deprived of the value of its trademarks as commercial assets, in amounts to be
 3 established according to proof.
 4               57.   Unless restrained by the Court, RageOn will continue to infringe
 5 Atari’s trademarks and trade dress. Pecuniary compensation will not afford Atari
 6 adequate relief for the damage to its trademarks, trade dress, and brand. In the
 7 absence of injunctive relief, consumers are likely to continue to be mistaken or
 8 deceived as to the true source, origin, sponsorship, and affiliation of RageOn and
 9 their purported goods.
10               58.   RageOn’s acts were committed, and continue to be committed, with
11 actual notice of Atari’s exclusive rights and with the intent to cause confusion, to
12 cause mistake, and/or to deceive, and to cause injury to the reputation and goodwill
13 associated with Plaintiff and its products. Pursuant to 15 U.S.C. section 1117, Atari
14 is, therefore, entitled to recover three times its actual damages or three times
15 RageOn’s profits, whichever is greater, together with its attorneys’ fees. Atari is
16 also entitled to statutory damages of $2 million per registered mark. In addition,
17 pursuant to 15 U.S.C. section 1118, Atari is entitled to an order requiring destruction
18 of all infringing products and promotional materials in RageOn’s possession.
19                                  FIFTH CLAIM FOR RELIEF
20                               (Common Law Unfair Competition)
21               59.   Atari re-alleges and incorporates herein by reference each and every
22 allegation set forth above.
23               60.   RageOn’s unauthorized use of Atari’s trademarks and trade dress is
24 likely to cause consumer confusion as to the source, origin, sponsorship, and
25 association of RageOn’s products.
26               61.   Atari has been, and will continue to be, damaged and irreparably
27 harmed by the actions of RageOn unless RageOn is enjoined by this Court.
28               62.   Atari has no adequate remedy at law.
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 1               63.   Atari is entitled to recover damages and/or RageOn’s profits in an
 2 amount to be determined at trial.
 3               64.   Atari is informed and believes, and thereon alleges, that RageOn
 4 committed the foregoing acts with the intention of depriving Atari of its legal rights,
 5 with oppression, fraud, and/or malice, and in conscious disregard of Atari’s rights.
 6 Atari is, therefore, entitled to an award of exemplary and punitive damages,
 7 according to proof.
 8                                  SIXTH CLAIM FOR RELIEF
 9                     (Contributory Trademark Infringement and Counterfeiting)
10               65.   Atari re-alleges and incorporates herein by reference each and every
11 allegation set forth above.
12               66.   RageOn has been and continues to be aware of – and has been and
13 continues to contribute to – the infringement of Atari’s trademarks and the use of
14 counterfeit Atari products on its site. The infringing and counterfeit products are
15 prominently displayed and promoted on RageOn’s website. RageOn’s website is
16 configured so that a search for “Atari” or other Atari trade names will lead directly
17 to the infringing and counterfeit goods. RageOn creates and distributes the
18 infringing and counterfeit goods to the end consumer and facilitates the financial
19 transactions.
20               67.   Alternatively, RageOn has remained willfully blind to the infringement
21 and/or counterfeiting of Atari trademarks on its website and on the products it
22 creates and distributes to the end consumer.
23               68.   Atari has been damaged by and RageOn has profited from RageOn’s
24 contributory trademark infringement and counterfeiting.
25               69.   To remedy RageOn’s contributory trademark infringement, Atari is
26 entitled to all of the remedies set forth above for direct trademark infringement,
27 counterfeiting, false designation of origin, and unfair competition.
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 1                                SEVENTH CLAIM FOR RELIEF
 2                               (Contributory Copyright Infringement)
 3               70.   Atari re-alleges and incorporates herein by reference each and every
 4 allegation set forth above.
 5               71.   RageOn has been and continues to be aware of – and has been and
 6 continues to contribute to – the infringement of Atari’s copyrights on its site. The
 7 infringing products are prominently displayed and promoted on RageOn’s website.
 8 RageOn’s website is configured so that a search for “Atari” or other Atari trade
 9 names will lead directly to the infringing goods. RageOn creates and distributes the
10 infringing goods to the end consumer and facilitates the financial transactions.
11               72.   Alternatively, RageOn has remained willfully blind to the infringement
12 of Atari copyrights on its website and on the products it creates and distributes to the
13 end consumer.
14               73.   Atari has been damaged by and RageOn has profited from RageOn’s
15 contributory copyright infringement.
16               74.   To remedy RageOn’s contributory copyright infringement, Atari is
17 entitled to all of the remedies set forth above for direct copyright infringement.
18                                EIGHTH CLAIM FOR RELIEF
19                      (Vicarious Trademark Infringement and Counterfeiting)
20               75.   Atari re-alleges and incorporates herein by reference each and every
21 allegation set forth above.
22               76.   RageOn and the third parties who design and upload the infringing
23 designs are in an apparent or actual partnership, have the authority to bind one
24 another in transactions with third parties, and/or exercise joint ownership or control
25 over the infringing products. RageOn is thus vicariously liable for the trademark
26 infringement and counterfeiting of the third parties who design and upload the
27 infringing designs onto the RageOn site.
28               77.   Atari has been damaged by and RageOn has profited from RageOn’s
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 1 vicarious trademark infringement and counterfeiting.
 2               78.   To remedy RageOn’s vicarious trademark infringement and
 3 counterfeiting, Atari is entitled to all of the remedies set forth above for direct
 4 trademark infringement, counterfeiting, false designation of origin, and unfair
 5 competition.
 6                                  NINTH CLAIM FOR RELIEF
 7                                (Vicarious Copyright Infringement)
 8               79.   Atari re-alleges and incorporates herein by reference each and every
 9 allegation set forth above.
10               80.   RageOn enjoys a direct financial benefit from the copyright
11 infringement on its website. RageOn gets paid a percentage of every sale of every
12 product displayed on the site. The availability of the infringing goods also draws
13 customers to the site, which causes RageOn to make money both through the sale of
14 the infringing goods and through the sale of all goods displayed on its site.
15               81.   RageOn has the legal right to stop or limit the copyright infringement
16 on its website and the practical ability to do so. RageOn has the ability and means
17 to monitor its site for infringing designs and the right to remove them.
18               82.   Atari has been damaged by and RageOn has profited from RageOn’s
19 vicarious copyright infringement. To remedy RageOn’s vicarious copyright
20 infringement, Atari is entitled to all of the remedies set forth above for direct
21 copyright infringement.
22                                     PRAYER FOR RELIEF
23               WHEREFORE, Plaintiff prays for relief against Defendant as follows:
24               1.    For preliminary and permanent injunctions enjoining and restraining
25 Defendant, its agents, employees, representatives, partners, joint venturers, and/or
26 anyone acting on behalf of, or in concert with Defendant, from:
27                     a.    designing, manufacturing, importing, shipping, delivering,
28                           selling, marketing, displaying, advertising, or promoting any
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 1                          product that incorporates designs substantially similar to Atari’s
 2                          copyrights;
 3                    b.    designing, manufacturing, importing, shipping, delivering,
 4                          selling, marketing, displaying, advertising, or promoting any
 5                          product that incorporates or is marketed in conjunction any Atari
 6                          trademark or trade dress;
 7                    c.    representing or implying, directly or indirectly, to retailers,
 8                          customers, distributors, licensees, or any other customers or
 9                          potential customers of Defendant’s products that Defendant’s
10                          products originate with, are sponsored, endorsed, or licensed by,
11                          or are otherwise associated or affiliated with Plaintiff;
12               2.   For an order requiring the destruction of all of Defendant’s infringing
13 products and all marketing, advertising, or promotional materials depicting
14 Defendant’s infringing products;
15               3.   For an accounting of all profits obtained by Defendant from sales of the
16 infringing products and an order that Defendant hold all such profits in a
17 constructive trust for the benefit of Plaintiff;
18               4.   For an award to Plaintiff of all profits earned by Defendant from their
19 infringing acts;
20               5.   For compensatory damages according to proof;
21               6.   For statutory damages of no less than $150,000.00 per registered
22 copyright and no less than $2 million per registered trademark;
23               7.   For pre-judgment interest on all damages awarded by this Court;
24               8.   For reasonable attorney’s fees and costs of suit incurred herein; and
25               9.   For such other and further relief as the Court deems just and proper.
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     1388414.1
                                                  -15-
                                               COMPLAINT
 Case 2:19-cv-10806 Document 1 Filed 12/20/19 Page 17 of 54 Page ID #:17




 1 Dated: December 20, 2019         BROWNE GEORGE ROSS LLP
                                       Keith J. Wesley
 2
 3
                                    By:    /s/ Keith J. Wesley
 4                                             Keith J. Wesley
 5                                  Attorneys for Plaintiff
                                    ATARI INTERACTIVE, INC.
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                                     COMPLAINT
  Case 2:19-cv-10806 Document 1 Filed 12/20/19 Page 18 of 54 Page ID #:18




 1                                  DEMAND FOR JURY TRIAL
 2               Plaintiff hereby demands a jury trial as provided by Rule 38(a) of the Federal
 3 Rules of Civil Procedure.
 4
 5 Dated: December 20, 2019                   BROWNE GEORGE ROSS LLP
                                                 Keith J. Wesley
 6
 7
                                              By:    /s/ Keith J. Wesley
 8                                                       Keith J. Wesley
 9                                            Attorneys for Plaintiff
                                              ATARI INTERACTIVE, INC.
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                                                COMPLAINT
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                    EXHIBIT 1



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                                  19
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                    EXHIBIT 2



                                  20
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                                  21
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                    EXHIBIT 3



                                  22
11/22/2019                                            Atari 2600 Page 24 of 54 Page ID #:24
                Case 2:19-cv-10806 Document 1 Filed 12/20/19
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                                                                    23
https://www.rageon.com/products/atari-2600                                                                            1/10
11/22/2019                                             Atari 2600 Page 25 of 54 Page ID #:25
                 Case 2:19-cv-10806 Document 1 Filed 12/20/19




                                                                                                                    
                 $19.99                      $39.97                    $69.99                $89.99             $109

                                                         20      0 1


         Atari 2600
         by: BuiltWithRAGE
         $30 Save 40%
         $17.97
         or 4 interest-free payments of $4.49 with            ⓘ

         Title
             PICK A SIZE                                                 Sizing Chart

         Quantity                    Save Money! Order In Bulk

             1




                                                       ADD TO CART
                                                        Campaign ends in


                                 0                     3                    9                 30
                                DAYS                  HOURS               MINUTES            SECONDS


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         About                                  Specs                               Sizing


         Estimated 10 business days production time + shipping time, unless coupled with products that
         have a longer stated production time.

         Atari 2600 Product tags: retro, video games, atari, computer, joystick, T-Shirt, Classic Black T, Classic
         White T, Tank Top, Hoodie, Sweatshirt, Swim Shorts, Underwear, Joggers, Onesie, Womens T, Crop
                                                                  24
https://www.rageon.com/products/atari-2600                                                                             2/10
11/22/2019                                           ATARI 5200 Page 26 of 54 Page ID #:26
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https://www.rageon.com/products/atari-5200                                                                            1/10
11/22/2019                                            ATARI 5200 Page 27 of 54 Page ID #:27
                 Case 2:19-cv-10806 Document 1 Filed 12/20/19




                                                                                                           
                 $19.99                      $19.99                     $39.97                $48.97     $44.

                                                         27       0 0


         ATARI 5200
         by: bsladenow
         $80 Save 13%
         $69.97
         or 4 interest-free payments of $17.49 with            ⓘ

         Title
             PICK A SIZE                                                  Sizing Chart

         Quantity                    Save Money! Order In Bulk

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                                                        Campaign ends in


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                                DAYS                  HOURS                MINUTES            SECONDS


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         About                                  Specs                                Sizing


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                                                                   26
https://www.rageon.com/products/atari-5200                                                                      2/10
11/22/2019      Case 2:19-cv-10806 Document 1 Filed Game On T-shirtPage 28 of 54 Page ID #:28
                                                    12/20/19
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                                                                 27
https://www.rageon.com/products/game-on-t-shirt                                                                    1/10
11/22/2019       Case 2:19-cv-10806 Document 1 Filed Game On T-shirtPage 29 of 54 Page ID #:29
                                                     12/20/19




                                                                                                         
                 $19.99                           $19.99

                                                              48      0 1


         Game On T-shirt
         by: Mhouse
         $30 Save 40%
         $17.97
         or 4 interest-free payments of $4.49 with                 ⓘ

         Title
             PICK A SIZE                                                    Sizing Chart

         Quantity                    Save Money! Order In Bulk

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                                                                       28
https://www.rageon.com/products/game-on-t-shirt                                                           2/10
11/22/2019                                           Atari Combat Page 30 of 54 Page ID #:30
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https://www.rageon.com/products/atari-combat                                                                      1/10
11/22/2019                                            Atari Combat Page 31 of 54 Page ID #:31
                 Case 2:19-cv-10806 Document 1 Filed 12/20/19




                                                                                                        
                 $19.99                        $19.99                    $39.97

                                                          4        0 0


         Atari Combat
         by: venturingbud
         $30 Save 40%
         $17.97
         or 4 interest-free payments of $4.49 with              ⓘ

         Title
             PICK A SIZE                                                   Sizing Chart

         Quantity                   Save Money! Order In Bulk

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                                                          Campaign ends in


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                                DAYS                    HOURS               MINUTES            SECONDS


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                                                                    30
https://www.rageon.com/products/atari-combat                                                             2/10
11/22/2019       Case 2:19-cv-10806 Document 1 Atari
                                                Filed(Geeks N' Gamers Collection)
                                                        12/20/19      Page 32 of 54 Page ID #:32
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                                                                  31
https://www.rageon.com/products/atari-24                                                                                        1/11
11/22/2019        Case 2:19-cv-10806 Document 1 Atari
                                                 Filed(Geeks N' Gamers Collection)
                                                         12/20/19      Page 33 of 54 Page ID #:33




                                                                                                         
                   $39.97                   $48.97                     $89.99                $79.99    $37.

                                                        7        0 0


          Atari (Geeks N' Gamers Collection)
          by: TrashBoi
          $40 Save 28%
          $29




                                                                                                         INSTANT SAVINGS
          or 4 interest-free payments of $7.25 with           ⓘ

          Size
             PICK A SIZE                                                 Sizing Chart


                                       
                 Standard - Single Sided 
                 Premium - Double Sided 
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                 Ultra Premium - Double Sided   
          Quantity                   Save Money! Order In Bulk

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                                  0                    1                   35                 30
                                 DAYS                 HOURS               MINUTES            SECONDS


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                                                                  32
https://www.rageon.com/products/atari-24                                                                             2/11
11/22/2019                                           Joystick HoodiePage 34 of 54 Page ID #:34
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                                                                 33
https://www.rageon.com/products/joystick-hoodie                                                                    1/10
11/22/2019       Case 2:19-cv-10806 Document 1 Filed"Old School x Atari"
                                                     12/20/19        Page 35 of 54 Page ID #:35
         Create            Sell                                 code: JAN5                     Track Order    Login



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                                                                    34
https://www.rageon.com/products/old-school-x-atari                                                                    1/11
11/22/2019        Case 2:19-cv-10806 Document 1 Filed"Old School x Atari"
                                                      12/20/19        Page 36 of 54 Page ID #:36




                                                                                                            
                  $19.99                        $19.99                    $39.97                $48.97    $44.

                                                              19    0 0


          "Old School x Atari"
          by: edwin_chino805
          $35 Save 34%
          $22.97
          or 4 interest-free payments of $5.74 with              ⓘ

          Size
             X-SMALL

          Style
             STANDARD

          Quantity

             1




                                                          ADD TO CART
                                                             Campaign ends in


                                  0                       2                   48                 26
                                 DAYS                    HOURS               MINUTES            SECONDS


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          About                                      Specs                             Sizing




                                                                     35
https://www.rageon.com/products/old-school-x-atari                                                               2/11
11/22/2019                                            Atari Crop Top Page 37 of 54 Page ID #:37
                 Case 2:19-cv-10806 Document 1 Filed 12/20/19
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                                                                  36
https://www.rageon.com/products/atari-crop-top                                                                      1/10
11/22/2019                                             Atari Crop Top Page 38 of 54 Page ID #:38
                  Case 2:19-cv-10806 Document 1 Filed 12/20/19




                                                                                                             
                  $19.99                         $19.99                    $39.97                $48.97    $44.

                                                             12      0 0


          Atari Crop Top
          by: Lucky7878
          $55 Save 35%
          $35.97
          or 4 interest-free payments of $8.99 with               ⓘ

          Title
             PICK A SIZE                                                     Sizing Chart

          Quantity                   Save Money! Order In Bulk

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                                                           ADD TO CART
                                                            Campaign ends in


                                  0                        3                   17                 44
                                 DAYS                     HOURS               MINUTES            SECONDS


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          About                                     Specs                               Sizing


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                                                                      37
https://www.rageon.com/products/atari-crop-top                                                                    2/10
11/22/2019       Case 2:19-cv-10806 Document Retro Gamer 12/20/19
                                             1 Filed     Rainbow ClassicPage
                                                                         Black T-Shirt
                                                                                39 of 54 Page ID #:39
          Create           Sell                                       code: JAN5                      Track Order    Login



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             COLLECTIONS          GUYS     GIRLS     KIDS     SWEATSHIRTS        HOME DECOR   SALE   READY TO SHIP   MORE




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                                                                            38
https://www.rageon.com/products/retro-gamer-rainbow-classic-black-t-shirt                                                               1/10
11/22/2019                                            Atari T Shirt Page 40 of 54 Page ID #:40
                 Case 2:19-cv-10806 Document 1 Filed 12/20/19
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                                                                   39
https://www.rageon.com/products/atari-t-shirt-1                                                                      1/11
11/22/2019                                             Atari T Shirt Page 41 of 54 Page ID #:41
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                                                                                                              
                   $19.99                         $19.99                    $39.97                $48.97    $44.

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          Atari T Shirt
          by: Aycemunch
          $35 Save 34%
          $22.97
          or 4 interest-free payments of $5.74 with                ⓘ

          Size
             PICK A SIZE                                                      Sizing Chart


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                 Standard - Single Sided 
                 Premium - Double Sided 
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                 Ultra Premium - Double Sided        
          Quantity                     Save Money! Order In Bulk

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                                                            ADD TO CART
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                                   0                        2                   41                 58
                                  DAYS                     HOURS               MINUTES            SECONDS


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          About                                      Specs                               Sizing


                                                                       40
https://www.rageon.com/products/atari-t-shirt-1                                                                    2/11
11/22/2019                                               Atari
                 Case 2:19-cv-10806 Document 1 Filed 12/20/19  Page 42 of 54 Page ID #:42
         Create            Sell                               code: JAN5                     Track Order    Login



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             COLLECTIONS          GUYS     GIRLS   KIDS   SWEATSHIRTS   HOME DECOR   SALE   READY TO SHIP   MORE




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                                                                  41
https://www.rageon.com/products/atari-23                                                                            1/11
11/22/2019                                                Atari
                  Case 2:19-cv-10806 Document 1 Filed 12/20/19  Page 43 of 54 Page ID #:43




                                                                                                         
                   $39.97                   $48.97                     $44.99                $69.99    $89.

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          Atari
          by: KibaRain
          $35 Save 34%
          $22.97
          or 4 interest-free payments of $5.74 with           ⓘ

          Size
             PICK A SIZE                                                 Sizing Chart


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                 Standard - Single Sided 
                 Premium - Double Sided 
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                 Ultra Premium - Double Sided   
          Quantity                   Save Money! Order In Bulk

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                                  0                    2                   38                 25
                                 DAYS                 HOURS               MINUTES            SECONDS


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          About                                 Specs                               Sizing


                                                                  42
https://www.rageon.com/products/atari-23                                                                      2/11
11/22/2019                                        My12/20/19
                Case 2:19-cv-10806 Document 1 Filed Fav Game By Atari
                                                                 Page 44 of 54 Page ID #:44
         Create           Sell                                code: JAN5                     Track Order    Login



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                                                                  43
https://www.rageon.com/products/my-fav-game-by-atari                                                                1/11
11/22/2019                                          My12/20/19
                  Case 2:19-cv-10806 Document 1 Filed Fav Game By Atari
                                                                   Page 45 of 54 Page ID #:45




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                   $19.99                      $19.99                       $39.97                $48.97    $44.

                                                                11    0 0


         My Fav Game By Atari
         by: okc
         $35 Save 34%
         $22.97
         or 4 interest-free payments of $5.74 with                 ⓘ

         Size
             PICK A SIZE                                                      Sizing Chart


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                 Standard - Single Sided 
                 Premium - Double Sided 
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                 Ultra Premium - Double Sided          
         Quantity                   Save Money! Order In Bulk

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                                                                       44
https://www.rageon.com/products/my-fav-game-by-atari                                                               2/11
11/22/2019                                          My12/20/19
                  Case 2:19-cv-10806 Document 1 Filed Fav Game By Atari
                                                                   Page 46 of 54 Page ID #:46




                                                                                                              
                   $19.99                      $19.99                       $39.97                $48.97    $44.

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         My Fav Game By Atari
         by: okc
         $35 Save 34%
         $22.97
         or 4 interest-free payments of $5.74 with                 ⓘ

         Size
             PICK A SIZE                                                      Sizing Chart


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                 Standard - Single Sided 
                 Premium - Double Sided 
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                 Ultra Premium - Double Sided          
         Quantity                   Save Money! Order In Bulk

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                                DAYS                      HOURS                MINUTES            SECONDS


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         About                                         Specs                             Sizing



                                                                       45
https://www.rageon.com/products/my-fav-game-by-atari                                                               2/11
11/22/2019      Case 2:19-cv-10806 Document Retro Gamer 12/20/19
                                            1 Filed     Rainbow GalaxyPage
                                                                       Phone Case
                                                                             47 of 54 Page ID #:47
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https://www.rageon.com/products/retro-gamer-rainbow-galaxy-phone-case                                                    1/10
11/22/2019      Case 2:19-cv-10806 Document 1Retro Gamer
                                                Filed    Rainbow Galaxy
                                                      12/20/19          Crop Top
                                                                     Page    48 of 54 Page ID #:48
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https://www.rageon.com/products/retro-gamer-rainbow-galaxy-crop-top                                                       1/10
11/22/2019       Case 2:19-cv-10806 Document 1 Filed Shitlords
                                                     12/20/19  for AtariPage 49 of 54 Page ID #:49

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                                                                       48
https://www.rageon.com/products/shitlords-for-atari-1                                                                               1/10
bong 4:20 parody pong                                                                  https://www.rageon.com/products/bong-4-20-parody-pong
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Centipede                                                                              https://www.rageon.com/products/centipede-4
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Centipede                                                                              https://www.rageon.com/products/centipede-4
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Asteroids!!!                                                                           https://www.rageon.com/products/asteroids-5
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Asteroids!!!                                                                           https://www.rageon.com/products/asteroids-5
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